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  The relief described hereinbelow is SO ORDERED.



  Signed November 13, 2024.

                                                                      __________________________________
                                                                           CHRISTOPHER G. BRADLEY
                                                                      UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________


                              IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE WESTERN DISTRICT OF TEXAS
                                          AUSTIN DIVISION

      In re:                                                   §
                                                               §                    Case No. 24-10264-cgb
      RIC (AUSTIN), LLC                                        §
                                                               §                    Chapter 11 Subchapter V
                Debtor.                                        §

                        ORDER ESTABLISHING PROCEDURES FOR INTERIM
                       COMPENSATION AND REIMBURSEMENT OF EXPENSES

               Upon the Motion1 of the above-captioned Debtor and Debtor-in-Possession for the entry

  of an order establishing interim compensation and expense reimbursement procedures for

  Professionals as stated in the Motion; and the Court having reviewed the Motion and heard the

  statements in support of the relief requested therein at a hearing before the Court, if any (the

  “Hearing”); and the Court having jurisdiction over the Motion under 28 U.S.C. § 1334; and the

  Court having found that this is a core proceeding under 28 U.S.C. § 157(b)(2); and the Court

  having found that it may enter a final order consistent with Article III of the United States

  Constitution; and the Court having found that venue of this proceeding and the Motion in this


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               Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Motion.

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  district are proper under 28 U.S.C. § 1408 and 1409; and the Court having found that the Debtor’s

  notice of the Motion and opportunity for a hearing on the Motion were appropriate under the

  circumstances and no other notice need be provided; and the Court having found that the relief

  requested in the Motion is in the best interests of the Debtor’s Estate, its creditors, and other parties

  in interest; and the Court having determined that the legal and factual bases stated in the Motion

  and at the Hearing establish just cause for the relief granted herein; and upon all of the proceedings

  had before this Court; and after due deliberation and sufficient cause appearing therefore; and for

  the reasons stated on the record by the Court at the Hearing, it is HEREBY ORDERED THAT:

          1.      All Professionals in these cases may seek compensation in accordance with the

  following procedures (the “Interim Compensation Procedures”):

          (a)      After any period for which a Professional wishes to receive interim
                   reimbursement, which period shall in no event be shorter than thirty (30) days (a
                   “Fee Period”), a Professional may file and serve a summary, consisting of a brief
                   statement as to the fees and costs incurred (the “Fee Summary”) during the Fee
                   Period to the Service Parties, with: (i) detailed time entries itemized by project
                   billing service categories, identifying the services provided, the professional
                   providing the services, and the hourly rate of such professional in the case of
                   attorneys; or (ii) itemized billing statements for all non-attorney professionals.
                   The Service Parties will have ten (10) days after their receipt to review the Fee
                   Summary. At the expiration of the ten (10) day period, if no objection (as
                   described below) is made to the Fee Summary, the Professional may notify the
                   Debtor in writing that no objections have been filed with regard to the Fee
                   Summary. Upon actual receipt of such notice, the Debtor shall be authorized to
                   pay eighty percent (80%) of the fees and one hundred percent (100%) of the
                   expenses requested in the Professional’s Fee Summary.
          (b)      The Debtor shall be deemed to have received actual notice from a Professional for
                   authorization to pay fees and expenses if the Professional sends, by first claim mail
                   or electronic mail, the notification that no objections have been made to the Fee
                   Summary to the following attention:
                                                 RIC (Austin), LLC
                                           c/o Gregory S. Milligan, CRO
                                     8911 N. Capital of Texas Highway, Ste. 2120
                                                  Austin, TX 78759
                                       E-mail: gmilligan@harneypartners.com



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         (c)     If any party has an objection to the compensation or reimbursement of expenses
                 sought in a Fee Summary, it shall, within ten (10) days of the receipt of the Fee
                 Summary, file and serve a “Notice of Objection to Fee Summary” with a statement
                 setting forth the nature of the objection with specificity and the amounts at issue.
                 Thereafter, the objecting party(ies) and the Professional whose Fee Summary is
                 objected to shall confer and attempt to reach an agreement regarding the correct
                 payment to be made. If the parties are unable to reach an agreement on the
                 objection(s) within ten (10) days after receipt of such objection(s), the Professional
                 whose Fee Summary is objected to may (i) file a request for payment of the
                 disputed amount with the Court, or (ii) forego payment of the disputed amount
                 until the next interim fee application hearing, at which time the Court will consider
                 and dispose of the objection(s) if payment of the disputed amount is requested.
                 The Debtor shall be authorized to pay any portion of the requested fees and
                 disbursements that are not the subject of a Notice of Objection to Fee Summary.
         (d)     For each four-month interval following the Petition Date (each, an “Interim Fee
                 Period”), each of the Professionals that filed and served a Fee Summary during the
                 Interim Fee Period shall file with the Court an application (an “Interim Fee
                 Application”) for interim Court approval and allowance, under sections 330 and
                 331 of the Bankruptcy Code (as the case may be), of the compensation and
                 reimbursement of expenses requested in the Fee Summaries filed and served
                 during the Interim Fee Period. Except as may otherwise be ordered by this Court
                 in connection with its authorization for the engagement of a particular
                 professional, each Professional must attach to its Interim Fee Application detailed
                 time entries and expense itemizations, although such time entries and itemizations
                 may be redacted as appropriate to protect confidential or proprietary information
                 or to prevent against disclosure of information subject to any applicable privilege.
                 Each Professional shall file its Interim Fee Application no later than thirty (30)
                 days after the end of the Interim Fee Period. All parties-in-interest retain their
                 rights to object to the appropriateness of any redaction.
         (e)     Any Professional who files a Fee Summary and receives interim compensation but
                 fails to timely file an Interim Fee Application within thirty (30) days after an
                 Interim Fee Period (i) shall be ineligible to receive further interim payments of
                 fees or reimbursement of expenses as provided herein until further order of the
                 Court, and (ii) may be required to disgorge any fees paid since retention or the last
                 fee application, whichever is later.
         (f)     Upon allowance of the Court of a Professional’s Interim Fee Application, the
                 Debtor shall be authorized to promptly pay such Professional all allowed requested
                 fees and expenses not previously paid.
         2.     Unless otherwise ordered by the Court, the pendency of an Interim Fee Application

  or a Court order that payment of compensation or reimbursement of expenses was improper as to




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  a particular Fee Summary shall not disqualify a Professional from the future payment of

  compensation or reimbursement of expenses as set forth above.

           3.    Neither (i) the payment of nor the failure to pay, in whole or in part, interim

  compensation and reimbursement of expenses under the Interim Compensation Procedures, nor

  (ii) the filing of or failure to file an Objection shall bind any party in interest or the Court with

  respect to the allowance of interim or final applications for compensation and reimbursement of

  expenses of the Professionals. All fees and expenses paid to the Professionals under the Interim

  Compensation Procedures are subject to challenge and disgorgement until final allowance by the

  Court.

           4.    All time periods set forth in this Order shall be calculated in accordance with

  Bankruptcy Rule 9006(a).

           5.    Notice of the Motion as provided therein shall be deemed good and sufficient notice

  of such Motion, and the requirements of the Bankruptcy Rules and the Local Rules are satisfied

  by such notice.

           6.    All notices given in accordance with the Interim Compensation Procedures shall be

  deemed sufficient and adequate notice and in full compliance with the applicable provisions of the

  Bankruptcy Code, the Bankruptcy Rules, and the Local Bankruptcy Rules.

           7.    The Debtor is authorized to take all actions necessary to effectuate the relief granted

  in this Order in accordance with the Motion.

           8.    The Court retains exclusive jurisdiction with respect to all matters arising from or

  related to the implementation, interpretation, and enforcement of this Order.

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